
Judgment reversed and judgment for plaintiff in error. Grounds stated in journal entry.
It is ordered and adjudged by this court, that the judgment of the said circuit court be, and the same hereby is, reversed at the cost of the defendant in error.
' And thereupon, this court proceeding to render judgment which the circuit court of said Franklin county should have rendered, it is ordered and adjudged that there is due plaintiff in error on said assessment, as in the petition set forth,, and interest thereon, duly levied and assessed on Lot No. 16 in Samuel Parson's Addition, as the same is more particularly described in the petition herein, the sum of Eight Hundred and Eighty-Three and 52-100 Dollars ($883.52), with interest from May 26, 1908.
It is, therefore, considered, adjudged and decreed by the court, that unless the said defendant in error pay or cause to be paid to said plaintiff in error the said sum aforesaid, within three days from the entry of this decree, that said real estate be sold for the payment of said assessment and interest thereon, as provided by law.
It is further considered and ordered that the plaintiff in error recover of the defendant in error his costs in this court, in the circuit court and in the court of common pleas expended, to be taxed.
The improvements involved and the assessments made to pay for the same, were had under the provisions of what is known in this case as the Taylor law, which for the purposes of this case must be considered valid, and that the lien of the *437assessments, under said law continues until they are paid. The lien still existing tolls the appropriate remedy for its enforcement.
Price, C. J., Shaucic, Summers and Spear, JJ., concur.
